Case 2:17-cv-00699-BRM-RLS             Document 598        Filed 12/09/22      Page 1 of 2 PageID:
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                                                 December 9, 2022

FILED VIA ECF

Honorable Brian R. Martinotti, U.S.D.J.
U.S. District Court, District of New Jersey
Martin Luther King Jr. Courthouse
50 Walnut Street
Newark, New Jersey 07101

    Re:      In re Insulin Pricing Litigation, Civil Action No. 3:17-cv-699 (BRM) (ESK)

Dear Judge Martinotti,

        This firm, together with Jones Day, represents Defendant Sanofi-Aventis U.S. LLC
(“Sanofi”) in the above referenced action. We write on behalf of all parties to respectfully request
oral argument, subject to the Court’s availability, on Plaintiffs’ Motion for Class Certification (ECF
574) and Defendants’ Motion to Exclude the Testimony of Professor Meredith Rosenthal (ECF
593). The briefing on both motions concluded on November 21, 2022.1 Given the complexity of
the issues and the significance of those motions in this litigation, Defendants respectfully request
the opportunity to present argument. We have conferred with Plaintiffs, and Plaintiffs are happy
to present oral argument if the Court requests it or would find it useful on one or more topics.

         We appreciate the Court’s consideration of this submission and ongoing attention to this
matter. We are always available should Your Honor have any questions or require anything
further.

                                                               Respectfully submitted,

                                                               [Signature block on next page]




          1 On Plaintiffs’ motion for class certification, the sealed briefs are docketed as follows:

Plaintiffs’ opening brief (ECF 575); Defendants’ brief in opposition (ECF 576); Plaintiffs’ reply
(ECF 577); Defendants’ sur-reply (ECF 587-1); and Plaintiffs’ response to the sur-reply (ECF
590). On Defendants’ motion to exclude Professor Rosenthal’s testimony, the sealed briefs are
docketed as follows: Defendants’ opening brief (ECF 594); Plaintiffs’ brief in opposition (ECF 595);
and Defendants’ reply (ECF 596). Plaintiffs also included, in their response to the sur-reply on
class certification (ECF 590), a response to Defendants’ reply on the motion to exclude.
       Consistent with the Court’s order (ECF 583), the parties will submit redacted versions of
the above briefs no later than January 20, 2023, which is 60 days after the completion of briefing.
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